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 6   Attorneys for Defendant
     West Coast Wood Preserving, LLC
 7
 8                         UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   CALIFORNIA DEPARTMENT OF             Case No. 2:14-cv-00595-WBS-EFB
     TOXIC SUBSTANCES CONTROL,
12   et al.,                              DECLARATION OF LESTER O.
                                          BROWN IN SUPPORT OF MOTION
13                      Plaintiffs,       FOR SUMMARY JUDGMENT BY
                                          WEST COAST WOOD
14           v.                           PRESERVING, LLC
15   JIM DOBBAS, INC., et al.,            [Filed concurrently with Notice of
                                          Motion and Motion For Summary
16                      Defendants.       Judgment, Statement of Undisputed
                                          Facts, Declaration of Stephen Ryan,
17                                        Request for Judicial Notice and
                                          [Proposed] Order]
18
                                          Date:      January 26, 2015
19                                        Time:      2:00 p.m.
                                          Place:     Courtroom 5, 14th Floor
20                                                   501 I Street
                                                     Sacramento, CA 95814
21                                        Trial:     January 4, 2017
                                          Action Filed: March 3, 2014
22
     AND RELATED
23   COUNTERCLAIMS AND CROSS-
     ACTIONS.
24
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                                                              BROWN DECLARATION
     LEGAL124006694.2                                          2:14-cv-00595-WBS-EFB
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 1           I, Lester O. Brown, declare as follows:
 2           1.         I am an attorney admitted to practice before this Court and all courts of
 3   the State of California. I am a member of the law firm of Perkins Coie LLP, counsel
 4   of record for Defendant West Coast Wood Preserving, LLC (“WCWP”) in this
 5   action.
 6           2.         I make this declaration in support of WCWP’S Motion for Summary
 7   Judgment.
 8           3.         I have personal knowledge of the facts recited herein, and if called as a
 9   witness, could and would testify competently thereto.
10           4.         Attached hereto as Exhibit A is a true and correct copy of a May 9,
11   1979 letter from CH2M Hill to Stephen Ryan (bates No. DTSC029266-279),
12   produced by Plaintiffs California Department of Toxic Substances Control and the
13   Toxic Substances Control account (collectively “DTSC”) in this case with its Initial
14   Disclosures on or about July 30, 2014.
15           5.         Attached hereto as Exhibit B is a true and correct copy of a March 16,
16   1979 letter from CH2M Hill to Stephen Ryan (bates No. DTSC029282-288),
17   produced by DTSC in this case with its Initial Disclosures on or about July 30,
18   2014.
19           6.         Attached hereto as Exhibit C is a true and correct copy of a November
20   19, 1979 letter from James A. Robertson to Richard F. Jackson enclosing a
21   November 19, 1979 Memorandum from Greg K. Vaughn to S. Phillippe (bates No.
22   DTSC029229-29230), produced by DTSC in this case with its Initial Disclosures
23   on or about July 30, 2014.
24           7.         Attached hereto as Exhibit D is a true and correct copy of a June 25,
25   1979 letter from Donald Stephenson to Walter Wunderlich (bates no.
26   DTSC008167-8168), produced by DTSC in this case with its Initial Disclosures on
27   or about July 30, 2014.
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                                                                           BROWN DECLARATION
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 1           8.         Attached hereto as Exhibit E is a true and correct copy of a July 30,
 2   1979 letter from Walter Wunderlich to the Law Offices of Dobbins, Weir,
 3   Thompson & Stephenson (bates no. DTSC0029255), produced by DTSC in this
 4   case with its Initial Disclosures on or about July 30, 2014.
 5           9.         Attached hereto as Exhibit F is a true and correct copy of a New York
 6   Times article dated February 24, 1984 titled “Wickes Reaches an Agreement With
 7   Creditors.” This article was printed out on November 18, 2014 from and is
 8   accessible at http://www.nytimes.com/1984/02/24/business/wickes-reaches-an-
 9   agreement-with-creditors.html.
10           10.        Attached hereto as Exhibit G is a true and correct copy of the
11   California Regional Water Quality Control Board Central Valley Region’s Cleanup
12   and Abatement Order for Wickes Forest Industries, The Wickes Corporation,
13   Elmira, Solano County dated June 7, 1982 (bates no. DTSC029747-48), produced
14   by DTSC in this case with its Initial Disclosures on or about July 30, 2014.
15           11.        Attached hereto as Exhibit H is a true and correct copy of the
16   California Regional Water Quality Control Board Central Valley Region’s Cleanup
17   and Abatement Order for Wickes Forest Industries, The Wickes Corporation,
18   Elmira, Solano County dated Oct. 4, 1982 (bates no. DTSC029332-35), produced
19   by DTSC in this case with its Initial Disclosures on or about July 30, 2014.
20           12.        Attached hereto as Exhibit I is a true and correct copy of the
21   Department of Health Services and California Regional Water Quality Control
22   Board Central Valley Region’s Settlement Agreement & Schedule of Compliance
23   dated February 1984 (bates no. DTSC010034-41), produced by DTSC in this case
24   with its Initial Disclosures on or about July 30, 2014.
25           13.        Attached hereto as Exhibit J is a true and correct copy of a
26   September 9, 1983 letter from Wickes Companies, Inc. to Karen O’Haire of the
27   Regional Water Quality Control Board (bates no. DTSC010116-10127), produced
28   by DTSC in this case with its Initial Disclosures on or about July 30, 2014.
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 1           14.        Attached hereto as Exhibit K is a true and correct copy of an
 2   August 12, 1983 letter from the California Regional Water Quality Control Board
 3   to Wickes Forest Industries (bates no. DTSC029607), produced by DTSC in this
 4   case with its Initial Disclosures on or about July 30, 2014.
 5           15.        Attached hereto as Exhibit L is a true and correct copy of a
 6   September 19, 1983 letter from the California Regional Water Quality Control
 7   Board to Wickes Forest Industries (bates no. DTSC029481-42), produced by DTSC
 8   in this case with its Initial Disclosures on or about July 30, 2014.
 9           16.        Attached hereto as Exhibit M is a true and correct copy of excerpts of
10   Levine-Fricke’s Remedial Action Plan Wickes Companies Elmira Site, dated
11   February 25, 1994 (bates no. DTSC001007-1038), produced by DTSC in this case
12   with its Initial Disclosures on or about July 30, 2014.
13           17.        Attached hereto as Exhibit N is a true and correct copy of a December
14   19, 1983 letter from Johnson-Riddle-McConnell to Woodward-Clyde Consultants
15   (bates no. DTSC29141-44), produced by DTSC in this case with its Initial
16   Disclosures on or about July 30, 2014.
17           18.        Attached hereto as Exhibit O is a true and correct copy of a New York
18   Times article dated November 9, 1986 titled “Wickes to Buy Collins & Aikman for
19   1.16 Billion.” This article was printed out from and is accessible at
20   http://nytimes.com on November 18, 2014.
21           19.        Attached hereto as Exhibit P is a true and correct copy of a November
22   13, 2006 letter from James Tjosvold of the Department of Toxic Substances
23   Control to Jim Dobbas and Continental Rail Co. (bates no. DTSC018465-474),
24   produced by DTSC in this case with its Initial Disclosures on or about July 30,
25   2014.
26           20.        Attached hereto as Exhibit Q is a true and correct copy of the
27   February 5, 1992 Enforceable Agreement filed before the State of California EPA
28   Department of Toxic Substance Control and Collins & Aikman Group, Inc., f/k/a
                                                                          BROWN DECLARATION
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 1   Wickes Companies, Inc. (bates no. DTSC010099-10108), produced by DTSC in
 2   this case with its Initial Disclosures on or about July 30, 2014.
 3           21.        Attached hereto as Exhibit R is a true and correct copy of a May 13,
 4   1993 letter from the Department of Toxic Substance Control to Wickes Companies,
 5   Inc. (bates no. DTSC028315-323), produced by DTSC in this case with its Initial
 6   Disclosures on or about July 30, 2014.
 7           22.        Attached hereto as Exhibit S is a true and correct copy of a document
 8   titled “Final RAP Checklist” by Timothy Patenaude dated February 1994 (bates no.
 9   DTSC017833-836), produced by DTSC in this case with its Initial Disclosures on
10   or about July 30, 2014.
11           23.        Attached hereto as Exhibit T is a true and correct copy of a March 12,
12   1996 letter from DTSC to James Moore of Collins & Aikman Products Co. (bates
13   no. DTS007960-7969), produced by DTSC in this case with its Initial Disclosures
14   on or about July 30, 2014.
15           24.        Attached hereto as Exhibit U is a true and correct copy of excerpts of
16   DTSC’s January 11, 2006 Proof of Claim filed in the U.S. Bankruptcy Court,
17   Eastern District of Michigan in the bankruptcy of Collins &Aikman Corp. (bates
18   no. DTSC009218-9224), produced by DTSC in this case with its Initial Disclosures
19   on or about July 30, 2014.
20           25.        Attached hereto as Exhibit V is a true and correct copy of excerpts of
21   the Final July 2010 Removal Action Workplan, Wickes Forest Industries Site,
22   Elmira, California (bates no. DTSC004010-4064), produced by DTSC in this case
23   with its Initial Disclosures on or about July 30, 2014.
24           26.        Attached hereto as Exhibit W are true and correct copies of letters
25   dated March 17, 2011, June 21, 2011 and October 6, 2011 from the Department of
26   Toxic Substances Control to Alan Gibbs of Arcadis U.S. Inc. (bates nos.
27   DTSC019070-79, ADMIN 007186-96, and ADMIN 007587-7603), produced by
28   DTSC in this case with its Initial Disclosures on or about July 30, 2014.
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 1           27.        Attached hereto as Exhibit X is a true and correct copy of a
 2   September 20, 2010 letter from the Department of Toxic Substances Control to
 3   Pacific Wood Preserving of Bakersfield, Inc. (bates no. DTSC027336-37),
 4   produced by DTSC in this case with its Initial Disclosures on or about July 30,
 5   2014.
 6           28.        Attached hereto as Exhibit Y is a true and correct copy of a November
 7   24, 2010 letter from Pacific Wood Preserving of Bakersfield, Inc.’s attorneys
 8   Sheppard Mullin LLP to Marilee Hanson of the Department of Toxic Substances
 9   Control (bates no. DTSC018744-853), produced by DTSC in this case with its
10   Initial Disclosures on or about July 30, 2014.
11           29.        Attached hereto as Exhibit Z is a true and correct copy of a printout
12   made from the Department of Toxic Substances Control’s EnviroStor website
13   regarding the Wickes Forest Industries Site in Elmira, California. This printout was
14   obtained on December 10, 2014 2014 from, and is accessible at,
15   http://www.envirostor.dtsc.ca.gov/public/profile_report.asp?global_id=4824000.
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 1           I declare under penalty under the laws of the United States of America that
 2   the foregoing is true and correct.
 3
             Executed on December 15, 2014 at Los Angeles, California.
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 6                                            /s/ Lester O. Brown
                                             Lester O. Brown
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